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AO 245B (Rev. 09/11) Sheet 1 - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

CASE NUMBER: 3:12-cr-171-J-32MCR
USM NUMBER: 57553-018 -=arn

RONALD E. ROBINSON Defendant's Attorney: Roland Falcon. — cn
THE DEFENDANT: at : ic = os
X pleaded guilty to count One (1) of the Indictment. fe if
__ pleaded nolo contendere to count(s) which was accepted by the court. en ie
__ was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 

TITLE & SECTION NATURE OF OFFENSE OFFENSE ENDED COUNT
18 U.S.C. § 1365 (a)(4) Tampering with Consumer Products June 15, 2012 One of the
Indictment

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984, as modified by United States v. Booker, and 18 U.S.C. §§ 3551 and 3553.

__ The defendant has been found not guilty on count(s)
__ Count(s) (is)(are) dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any
material change in economic circumstances.

Date of Imposition of Sentence: June 3, 2013

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TIMOTHY J.‘CORRIGA
UNITED STATES DISTRICT JUDGE

DATE: June o , 2013
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AO 245B (Rev. 09/11) Sheet 2 - Imprisonment
Defendant: RONALD E. ROBINSON Judgment - Page 2_ of 6.

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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of THIRTY (30) MONTHS.

X_ The court makes the following recommendations to the Bureau of Prisons:

* Incarceration in FCl Jesup. Mr. Robinson has a significant heart condition and has a
pacemaker implanted. The Bureau of Prisons should provide placement in a facility where his
medical needs will be appropriately addressed.

° The BOP should test defendant for HIV and Hepatitis and the results of those exams should be
provided to the Court and to the government.

. Defendant enroll in Residential Drug Abuse Treatment Program (RDAP),
pursuant to 18 U.S.C. § 3621 (e).

* Defendant receive mental health treatment

_X The defendant is remanded to the custedy of the United States Marshal.
__ The defendant shall surrender to the United States Marshal for this district.

_at__ a.m/p.m.on _.
___ as notified by the United States Marshal.

__ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

__ before 2 p.m. on __.
___ as notified by the United States Marshal.
__ as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
United States Marshal
By:

 

Deputy Marshal
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AO 245B (Rev. 09/11) Sheet 3 - Supervised Release

 

 

 

Defendant: RONALD E. ROBINSON Judgment - Page _3 of _6
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of TWO (2) YEARS.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of

release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use

of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at
least two periodic drug tests thereafter, as determined by the court.

1)
2)
3)
4)
5)

6)
7)

8)
9)

10)

14)

12)

13)

The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
risk of future substance abuse. (Check, if applicable).

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check,
if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides,
works, or is a student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

 

the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
other acceptable reasons;

the defendant shail notify the probation officer at least ten days prior to any change in residence or employment:

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer.

the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer:

the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court; and

as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant's compliance with such notification requirement.
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AO 245B (Rev. 09/11) Sheet 3C - Supervised Release

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Defendant: RONALD E. ROBINSON Judgment - Page _4 of _6_
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SPECIAL CONDITIONS OF SUPERVISION

 

The defendant shall also comply with the following additional conditions of supervised release:

The defendant shall participate in the Home Detention program for a period of _. During this time, defendant will
remain at defendant's place of residence except for employment and other activities approved in advance by the
defendant's Probation Officer. Defendant will be subject to the standard conditions of Home Detention adopted for
use in the Middle District of Florida, which may include the requirement to wear an electronic monitoring device and
to follow electronic monitoring procedures specified by the Probation Officer. Further, the defendant shail be required
to contribute to the costs of services for such monitoring not to exceed an amount determined reasonable by the
Probation Officer based on ability to pay (or availability of third party payment) and in conformance with the Probation
Office’s Sliding Scale for Electronic Monitoring Services.

X The defendant shall participate, as directed by the Probation Officer, in a program (outpatient and/or inpatient) for
treatment of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection
of substance use or abuse. Further, the defendant shall be required to contribute to the costs of services for such
treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for Substance
Abuse Treatment Services.

xX The defendant shall participate as directed in a program of mental health treatment approved by the Probation
Officer. Further, the defendant shall be required to contribute to the costs of services for such treatment not to
exceed an amount determined reasonable to by Probation Officer based on ability to pay or availability of third party
payment and in conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.

The defendant shall provide the probation officer access to any requested financial information.

The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions
or obligating himself/herself for any major purchases without approval of the probation officer.

If deported by the Bureau of Immigration and Customs Enforcement (BICE), the Defendant shall not re-enter the
United States unless allowed to do so legally.

Defendant shall perform ___ hours of community service.

The defendant shall register with the state sexual offender registration agency(s) in any state where he resides, visits,
is employed, carries on a vacation, or is a student, as directed by the probation officer.

The defendant shall have no direct contact with minors (under the age of 18) without the written approval of the
probation officer and shall refrain from entering into any area where children frequently congregate including:
schools, day-care centers, theme parks, playgrounds, etc.

The defendantis prohibited from possessing, subscribing to, or viewing any video, magazines, or literature depicting
children in the nude and/or in sexually explicit positions.

The defendant shall submit to a search of his person, residence, place of business, any storage units under his
control, or vehicle conducted by the United States Probation Officer at a reasonable time and in areasonable manner.

xX If the BOP has not tested defendant for HIV and Hepatitis while in custody, the defendant shall be tested while on
supervised release for HIV and Hepatitis. The results of those exams should be provided to the Court and to the
government.
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AO 2458 (Rev. 09/11) Sheet 5 - Criminal Monetary Penalties

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Defendant: RONALD E. ROBINSON Judgment -Page_5 of _6_
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment Fine Total Restitution
Totals: $100.00 $ $
_ The determination of restitution is deferred until__.An Amended Judgment in a Criminal Case (AO 245C)

will be entered after such determination.

_ The defendant must make restitution (including community restitution) to the following payees in the amount
listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to
18 U.S.C. § 3664(1), all nonfederal victims must be paid before the United States is paid.

Priority Order or
*Total Amount of Percentage of
Name of Payee Amount of Loss Restitution Ordered Payment

Totals: S$ $

Restitution amount ordered pursuant to plea agreement $

_ The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine
is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
§ 3612(g).

_ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

_ the interest requirement is waived forthe ss fine ____ restitution.

_ the interest requirement forthe __s fine ___ restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for the
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 2456 (Rev. 09/11) Sheet 6 - Schedule of Payments

Defendant: RONALD E. ROBINSON Judgment - Page _6 of _6_
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SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A. _X Lump sum payment of $ 100.00 due immediately, balance due

 

___ not later than ,or

__in accordance _C, _ D, __ Eor __F below; or
B. —_- Payment to begin immediately (may be combined with __C, __D, or __ F below); or
C. __ Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence days (e.g., 30 or 60 days) after the date of
this judgment; or

 

D. Payment in equal (e.g., weekly, monthly, quarterly) installments of $ overa
period of , (@.g., months or years) to commence (e.g. 30 or 60 days)
after release from imprisonment to a term of supervision; or

E. Payment during the term of supervised release will commence within (e.g., 30

or 60 days) after release from imprisonment. The court will set the payment plan based on an
assessment of the defendant's ability to pay at that time, or

F. Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment
of criminal monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments
made through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of

the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount,
Joint and Several Amount, and corresponding payee, if appropriate:

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

_ The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
